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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                  SOUTHERN DISTRICT OF TEXAS
                                        LAREDO DIVISION

UNITED STATES OF AMERICA                                 §
                                                         §
VS.                                                      §
                                                         §
 Jose Victor REYNOSA
                                                         §

                                     AFFIDAVIT FOR MATERIAL WITNESS

BEFORE ME, the undersigned authority, personally came and appeared the undersigned Agent, who
being duly sworn and deposed, said:

The testimony of the following person(s) is material in the above-titled criminal proceeding.
Designation and detention as material witnesses under 18 U.S.C. Section 3144 is requested for:

Name & Country:                                                 Name & Country:
Santos Marcos MARTINEZ - Mexico
Victor JASSO Olvera - Mexico
Rodolfo CONTRERAS Lopez - Mexico




These material witnesses are citizens of other countries, and have admitted belonging to a class of aliens
who are deportable, and to being illegally within the United States. Should they be released and
returned to their native country, they will likely not be subject to be subpoenaed to the United States.
Thus, it would be impracticable to secure their presence at such time as the case is called for trial so we
request they be held as material witnesses.




                                                                                                 Digitally signed by JACOB S NISSEN
                                             Agent Signature:      JACOB S NISSEN
                                                                   ___________________________________
                                                                                                 Date: 2021.02.03 15:03:10 -06'00'




                               Printed Name, Title and Agency:     ____________________________________
                                                                   Jacob Nissen, Special Agent, Homeland Security Investigations
